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U.S. Department of Justice

United States Attorney
Southern District of New York

Jacob K. Javits Federal Building
26 Federal Plaza
New York, New York 10278

November 25, 2024
BY EMAIL
Honorable Jesse M. Furman Honorable Paul G. Gardephe
United States District Judge United States District Judge
Southern District of New York Southern District of New York
Thurgood Marshall U.S. Courthouse Thurgood Marshall U.S. Courthouse
40 Foley Square 40 Foley Square
New York, New York 10007 New York, New York 10007
Re: United States v. Marlon Lawes, _MEMO ENDORSED
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22 Cr. 26 (JMF) “y Cr 2 Ans deen Ao ag pred mO

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United States vy. Anthony Rose et al., Se ABE PON ale LD. Tx Apnsgokirn AY Ape eo
19 Cr. 789 (PGG) = 4 Oe

United States v. Bradley Pierre et al., fog i s % 24 whe
22 Cr. 19 (PGG) Ag . ¢ T & -
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Dear Judge Furman and Judge Gardephe: (rome panad Apart hbrc%yy lie o Py Doe. i vy

The Government respectfully submits this letter pursuant to Local $0 ORD BARD: 1(b)
and Local Civil Rule 1.6 of the Local Rules of the Southern District of New York to nofity, the, , { ft
Courts of the potential relatedness of the above-referenced cases. _

P Paul G Gardephe, UBDa

Defendant Marlon Lawes is charged in an Information, 22 Cr. 26 (Iat@drfiled under seal, \ar- 26 Gay

with one count of conspiracy to commit Travel Act bribery, 18 U.S.C. § 1952, in violation of [8 —
U.S.C. § 371. The conspiracy charged in the Information is the same as the bribery conspiracy
charged in United States v. Anthony Rose et al., 19 Cr. 789 (PGG). Defendants Jelani Wray,
Nathaniel Coles, Tara Rose, Anthony Rose, Jr., Christina Garcia, Leon Blue, Clarence Facey,
Dejahnea Brown, Tonya Thomas, Angela Melecio, Stephanie Pascal, Edward Abayev, Graciela
Borrero, Barrington Reid, Tonja Lewis, Berlisa Bryan, Angela Myers, Latifah Abdul-Khaliq,
Shakeema Foster, Kourtnei Williams, Makkah Shabazz, and Yaniris Deleon have been sentenced
before Judge Gardephe in the Rose matter. Defendants Anthony Rose, Luis Vilella, and Ana Rivera
remain to be sentenced.

Lawes pleaded guilty to the charge in the Information on or about January 10, 2022, before
Judge Furman, pursuant to a plea agreement. Lawes was subsequently identified as a Government
witness at the trial in United States v. Bradley Pierre et al., 22 Cr. 19 (PGG), originally scheduled
to commence on January 16, 2024, before Judge Gardephe. Material for Lawes pursuant to 18
U.S.C. § 3500 was produced to the prospective trial defendants in the Pierre matter. Trial was not
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held because all defendants pleaded prior to trial. Defendants Bradley Pierre, Jean Pierre, and
William Weiner have been sentenced before Judge Gardephe the Pierre matter. Defendants Arthur
Bogoraz and Albert Haft remain to be sentenced.

Lawes is currently scheduled to be sentenced before Judge Furman on December 18, 2024.

The Government writes to notify the Courts of the above facts. The parties jointly request
an adjournment of the scheduled sentencing date pending the Courts’ consideration of this letter.

Finally, the Government respectfully requests, without objection from the defense, that the
Information and other proceedings in the Lawes matter be unsealed. In light of the fact that the
Information, plea agreement, and plea transcript have been produced as 3500 material in the Pierre
matter, continued sealing is no longer necessary. Should this unsealing request be granted, the
Government also respectfully requests that this letter be docketed in all three cases.

Respectfully submitted,

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United States Attorney

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